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                  5
                      Attorneys for Plaintiff
                  6   Take Two Interactive Software, Inc.

                  7

                  8                               UNITED STATES DISTRICT COURT

                  9                              NORTHERN DISTRICT OF CALIFORNIA

                 10                                   SAN FRANCISCO DIVISION

                 11   TAKE-TWO INTERACTIVE SOFTWARE,                CASE NO. 3:21-CV-6831-TSH
                      INC.,
                 12                                                 [Magistrate Judge Thomas S. Hixson]
                                    Plaintiff,
                 13
                             v.                                     JOINT STIPULATION OF DISMISSAL
                 14                                                 WITH PREJUDICE PURSUANT TO
                      ANGELO PAPENHOFF, a/k/a AAP, an               FRCP 41(a)(1)(A)(ii) OF DEFENDANTS
                 15   individual; THEO MORRA, an individual;        ANGELO PAPENHOFF, THEO MORRA,
                      ERAY ORÇUNUS, an individual; ADRIAN           ERAY ORÇUNUS, AND ADRIAN
                 16   GRABER, an individual; DOE 1 a/k/a ASH R.     GRABER
                      and ASH_735, an individual; and DOES 2
                 17   through 10, inclusive,

                 18                 Defendants.

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                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                     CASE NO. 3:21-cv-6831-TSH
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                                                    JOINT STIPULATION OF DISMISSAL
                         Case 3:21-cv-06831-TSH Document 47 Filed 04/03/23 Page 2 of 2



                  1          In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), by and between the

                  2   undersigned counsel for the Plaintiff, Take Two Interactive Software, Inc., and counsel for

                  3   Defendants Angelo Papenhoff, Theo Morra, Eray Orçunus, and Adrian Graber (“Named

                  4   Defendants”), that all claims asserted in the above-referenced action against the Named

                  5   Defendants are dismissed with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with each

                  6   party to bear its own costs, expenses and attorneys’ fees. The remaining Defendants are not

                  7   dismissed by this Stipulation.

                  8   DATED: April 3, 2023                          RESPECTFULLY SUBMITTED,
                  9                                                 KARIN G. PAGNANELLI
                                                                    MARC E. MAYER
                 10                                                 MARK C. HUMPHREY
                                                                    MITCHELL SILBERBERG & KNUPP LLP
                 11

                 12
                                                                    By: /s/ Karin G. Pagnanelli
                 13                                                     Karin G. Pagnanelli
                                                                        Marc E. Mayer
                 14                                                     Mark C. Humphrey
                                                                        Attorneys for Plaintiff
                 15                                                     Take-Two Interactive Software, Inc.
                 16
                      DATED: April 3, 2023                          ERIN K. RUSSELL
                 17                                                 THE RUSSELL FIRM
                 18

                 19                                                 By: /s/ Erin K. Russell
                                                                        Erin K. Russell
                 20                                                     Attorneys for Defendants
                                                                        Angelo Papenhoff, Theo Morra, Eray Orçunus,
                 21                                                     Adrian Graber
                 22

                 23                        Attestation Regarding Signatures-Local Rule 5-1(h)(3)
                 24          I, Karin G. Pagnanelli, attest that all signatories listed, and on whose behalf the filing is
                 25   submitted, concur in the filing’s content and have authorized the filing.
                 26

                 27   DATED: April 3, 2023                          /s/ Karin G. Pagnanelli
                                                                    Karin G. Pagnanelli
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                        2                     CASE NO. 3:21-cv-6831-TSH
15134827.1
                                                       JOINT STIPULATION OF DISMISSAL
